Case 2:18-cv-11347-ESK Document 109 Filed 04/06/22 Page 1 of 1 PageID: 382




                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY



 YA TAO WANG, et al.,
                                              Case No. 18–cv–11347–KM–ESK
           Plaintiffs,

      v.
                                                            ORDER
 AN DA NJ CONSTRUCTION LLC,
 et al.,

           Defendants.


     THIS MATTER having been settled, in principle, during the settlement
conference on January 12, 2022 (ECF No. 106); and the Court having directed
plaintiffs to file a motion to approve the settlement agreement (Approval Motion)
by March 18, 2022 (id.); and plaintiffs having requested an extension of time to file
the Approval Motion from March 18, 2022 to April 1, 2022 (ECF No. 107); and the
Court having granted the extension request and scheduled a telephone status
conference for April 6, 2022 (ECF No. 108); and plaintiffs’ counsel having called
chambers on April 6, 2022 advising that defendants’ counsel could not appear for
the telephone status conference; but plaintiffs having failed to file the Approval
Motion by the deadline of April 1, 2022,

            IT IS on this 6th day of April 2022 ORDERED that:

     1.    This matter is administratively terminated.

     2.    Plaintiffs may move, by formal motion, to reinstate this matter. The
motion to reinstate this matter shall also incorporate the Approval Motion, and
shall also provide an explanation for plaintiffs’ counsel’s failure to timely file the
Approval Motion.



                                                 /s/ Edward S. Kiel
                                                EDWARD S. KIEL
                                                UNITED STATES MAGISTRATE JUDGE
